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                         IN THE UNITED STATES DISTRICT COURT
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                            FOR THE DISTRICT OF MARYLAND                             CLERK. U.S. DISTRICTCOURT
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                                                                                             . v;           DEPUTY
IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH                                        19 - 0329                 BPG
                                                   Case No. ---------
FACEBOOK USER ID DONTE KANE
THAT IS STORED AT PREMISES
CONTROLLED BY FACEBOOK INC.


IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH                                         19 - 0230                BPG
INSTAGRAM USER ID DONTE KANE666                    Case No.                              _
THAT IS STORED AT PREMISES
CONTROLLED BY INST AGRAM, LLC



                               AFFIDAVIT IN SUPPORT OF
                       AN APPLICATION FOR A SEARCH WARRANT

       I, Mohammed Ali, a Detective with the Baltimore Police Department and a Task Force

Officer CTFO") with the Federal Bureau ofInvestigation     ("FBI") being duly sworn, states:

                       INTRODUCTION        AND AGENT BACKGROUND

        I.     I am currently investigating a string of armed robberies occurring in Baltimore

City and Baltimore and Anne Arundel Counties. The investigation involves at least three known

and unknown targets, including Donte DINGLE alk/a Donte Kane who is the primary suspect

under investigation.

        2.     I make this affidavit in support of an application for a search warrant for the

following accounts (collectively referred to as the "Target Accounts") believed to be used by

DINGLE:

               a.      Infonnation associated with Facebook user ID "Donte Kane" (Facebook

       ID: Donte.Kane) that is stored at premises owned, maintained, controlled, or operated by
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         Facebook Inc. ("Facebook"), a social networking company headquartered in Menlo Park,

         California.

                 b.      Information associated with Instagram user ID "Donte Kane666"

         (Instagram ID: dontekane) that is stored at premises owned, maintained, controlled, or

         operated by Instagram, LLC ("Instagram"), a social-networking company owned by

         Facebook, Inc. and headquartered in San Francisco, California.

         3.      Based on my training and experiences and the facts as set forth in this affidavit,

there is probable cause to believe that DINGLE has committed criminal offenses, to wit, Hobbs

Act robbery and conspiracy to commit Hobbs Act Robbery in violation of 18 U.S.C.            S 1951,
felon in possession of a firearm in violation of 18 U.S.c.   S 922(g),   and use of a firearm in

furtherance ofa crime of violence in violation of 18 U.S.c.     S 924(c)   (collectively referred to as

the "Target Offenses").     There is also probable cause to search the Target Accounts for

information described in Attachments A-I and A-2 for evidence of the Target Offenses and

items to be seized listed in Attachments B-1 and B-2.

         4.      This affidavit is made in support of an application for a search warrant under 18

u.s.c.   SS 2703(a),   2703(b)(1)(A) and 2703(c)(l)(A) to require Facebook and Instagram to

disclose to the government records and other information in its possession, pertaining to the

subscriber or customer associated with the user ID.

                                      AFFIANT BACKGROUND

         5.      I have been a duly sworn law enforcement officer of the Baltimore Police

Department since October 200 I, authorized by and described under the Annotated Code of

Maryland, Title 2, Subtitle I,   S 2-102,   and am currently assigned to the Citywide Robbery Unit. I

am also duly deputized by the United States Marshall. I have successfully completed a six-month

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         basic course of training that included classes pertaining to Policing, Law Enforcement, and

         Controlled Dangerous Substance violations.

                  6.           My   prior    assignments    include   uniformed     patrol,     plain   clothes   narcotic

         enforcement, burglary investigations, non-fatal shooting investigations, robbery investigations,

         both physical and sexual child abuse investigations,                 and most recently commercial robbery

         investigations / Hobbs Act violations. I am also a Task Force Officer with the FBI, Violent

         Crimes    Task. Force, where I have personally                conducted     and participated      in numerous

         investigations        involving criminal activity in the aforementioned         offenses including but not

         limited to Controlled Dangerous Substance violations, violent crimes, and firearms violations. I

         have also participated             in hundreds    of surveillances     of persons     who have violated       the

         aforementioned crimes which has led me to participate in the arrest of numerous persons for the

         aforementioned violations. Subsequently, I have authored and/or executed more than 200 Search

         and Seizure Warrants relating to these crimes.

                  7.           Through training as well as interviews and interrogations of hundreds of persons

         arrested for the above offenses, I am familiar with the actions, traits, and habits of persons who

         have committed these offenses specifically in the area of robbery.                   The facts in this Affidavit

         come from my personal observations, my training and experience, and information obtained

         from other agents and police officers, witnesses, police records, and reports.

                  8.           In addition to the information described below, I submit that a search of the

         Target Accounts will reveal criminal evidence in the form of contact lists, private messages,

        posts, photographs, location information, and other media.

                               a.     First, I know from training and experience that violent offenders who

                  conspire to commit armed robberies, such as DINGLE, not only associate with one

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 another by cellular telephones, but also thr~ugh social media accounts.      Obtaining the

 contact lists (i.e. "Friend List") for the Target Accounts         will help investigators

 understand DINGLE's conspiratorial network. Learning who these individuals associate

 with on social media will therefore clarify the scope of his conspiracy and also, more

 importantly, help identify members of the conspiracy that investigators do not, at this

 time, know. Also, I know that co-conspirators who commit armed robberies often have

 contacts, messages, and/or posts with one another.

         b.     Second, I know from training and experience that Facebook, Instagram,

. and other social media accounts are often helpful to ascertain what phone number a target

 is using and where they are located. For individuals who do not have each other's phone

 number, a social media account is the easiest way to find and contact someone.

 Similarly, a search warrant on a Facebook or Instagram account can reveal valuable

 contact and location information by understanding the times and places when a user

 accesses their account using a mobile telephone.       A search warrant on Facebook and

 Instagram will allow investigators to identify the "IP Address" that accesses a particular

 account, at which point an investigator can subpoena the telephone provider of that IP

 Address to ascertain the phone number.

         c.     Third, I know from training and experience that violent offenders often

 post evidence of their criminal activity-e.g.   photographs of U.S. currency, references to

 violence acts, and pictures of firearms and/or vehicles--on    their social media accounts.

 However, the vast majority of such posts go to friends that are not publicly available on

 these accounts and which could reveal evidence of crimes. Because the vast majority of

 such posts, messages, and media content is "private," I cannot cite specific posts from the

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         Target Accounts in which DINGLE discusses robberies, contacts co-conspirators,            or

         otherwise posts information about his location or activities.

                d.      Fourth, I know that Facebook         often stores e-mail addresses, phone

         numbers, and other manners of communication          of its users.   As explained elsewhere,

         identification of the phone numbers and email addresses used by the targets of this

         investigation can lead to further evidence of the Target Offenses through comprehensive

         analysis of phone contacts, subscribers, and cellular location. Occasionally, as explained

         below, criminals will use Facebook itself as mode of communication to plan, conspire,

         and otherwise discuss criminal activities.

         9.     Because the content ofthe Target Accounts will remain preserved unless the user

deletes such content, I submit that a search of these accounts will yield evidence of a crime

inasmuch as those accounts will contain evidence from at or around the events summarized

above.

         10.    Because this affidavit is being submitted for the limited purpose of establishing

probable cause for a search and seizure warrant, I have not included every detail of every aspect

of the investigation.   Rather, I have set forth only those facts that I believe are necessary to

establish probable cause.     I have not, however, excluded any information known to me that

would defeat a determination of probable cause.           The facts in this affidavit come from my

personal observations, my training and experience, and information obtained from other agents,

police officers, witnesses, cooperating sources, telephone records, and reports. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant and

does not set forth all of my knowledge about this matter.



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                                       PROBABLE CAUSE

        II.    With the assistance of the Baltimore Police Department, the Baltimore County

Police Department, and the Anne Arundel County Police Department, the FBI is currently

investigating a trend of armed Hobbs Act robberies that have occurred throughout Baltimore

City, Baltimore County, and Anne Arundel County. The investigation encompasses robberies of

the following stores:

    •   4/09/2018       Spencer's One Stop Liquors 4300 Richie Highway
    •   4/16/2018       Carney Liquors             9222 Harford Road
    •   4/19/2018        Lucky's Superette         4225 Annapolis Road
    •   4/24/2018        Jp Liquors                6736 Richie Highway
    •   5/1212018        Subway                    5520 Reisterstown Rd
   •    5/22/2018       Nursery Liquors            6 Nursery Road
   •    6/04/2018        Selma's Liquors           4600 Washington Blvd.
   •    6/06/2018        Ridgeway Liquors          608 Edmondson Avenue
   •    6/08/2018       Perry Hall Liquors         8673 Belair Road
   •    6/21/2018       Euro Liquors               10512 Reisterstown Road
   •    7/05/2018       5th Avenue Liquors         508 Crain Highway
   •    7/12/2018       One-Stop Liquors           11700 Reisterstown Road

        12.    Some of the robberies involved multiple armed suspects; however, the primary

suspect was as a black male, approximately 6'00", 200 pounds.     During the robberies, he was

armed with a silver handgun and typically forced the employees to the rear of the store at the

conclusion of the robberies.

        13.    The suspect typically wore a disguise consisting of a costume, wigs, and glasses,

as shown in the images below.       For example, on June 21, 2018, during the robbery of Euro

Liquors, the suspect was wearing a brown wig, wire framed glasses, a police costume shirt with

the word "COP" written in white lettering on the front upper left portion of the shirt, a fake

mustache, a white bandage on his right forearm (believed to hide a tattoo(s)), black pants, and

black shoes.   On July 5, 2018, during the robbery of 5th Avenue Liquors, the suspect was

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wearing a wig, beard, red baseball hat, sunglasses, and a blue work shirt with stripes displaying

the name "Michael" across the chest. On July 12, 2018, during the robbery of One-Stop Liquor

Store, the suspect was wearing a dark colored fishing style hat, a green reflective construction

jacket, an eye patch, a fake mustache, black pants, and black shoes.

         14.        While   investigating   the   armed   robbery    of the   One-Stop   Liquor   Store,

investigators learned the suspect brought a bag of Dorito chips to the counter prior to the

robbery, and then left the bag on the counter. The bag was processed for latent fingerprints.         A

latent fingerprint was recovered and submitted to the Baltimore County Police Department's

Forensic Services Division- Latent Fingerprint Unit for analysis. The latent fingerprint was

positively identified to be the left thumb ofDonte Lamont DINGLE.

         15.    Investigators completed a criminal record check in regard to DINGLE, which

revealed DINGLE has previous arrests and convictions for armed robbery. His date of birth is

07/08/1973, and his FBI number ends in 3PA2.              DINGLE's physical description is listed as

5' II" and 196 pounds, which is similar to the video footage observed of the suspect in the above

listed robberies.

         16.    Additionally, the suspect has been observed entering the front passenger-side of

two "get-away vehicles" during the course of this trend:

    •    2001-2003 Hyundai Elantra, gold/tan in color
    •    1999-200 I Nissan Altima, gold/tan in color

         17.    During the investigation of the Euro Liquors robbery (occurred on June 21,2018),

video surveillance footage captured thc suspect entering a Nissan Altima missing a rear license

plate.   Although the license plate was missing, the footage also captured a partially obscured

license plate resting inside the vehicle on the rear seat.          That license plate appeared to bear


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Maryland Registration 8CT0799.

       18.     Two days after the robbery on July 12, 2018 of the One-Stop Liquors, Sergeant

Rupp, of the Baltimore County Police Department, Towson Precinct, observed a gold 2000

Nissan Altima, bearing Maryland Registration 8CT0799 parked on the Days Inn parking lot,

located at 8712 Loch Raven Blvd., Towson, Maryland, 21286.             Sergeant Rupp recognized the

vehicle to be similar to the Nissan Altima used by the suspects during the June 21,2018 and July

12, 2018 robberies.   A traffic stop was conducted on the vehicle as it left the Days Inn. The

driver/owner was identified as Chardonnay Rachelle Cary, and the passenger identified himself

as Demetrick Antoine Smallwood.       Investigators later learned that both of these individuals are

connected to Donte DINGLE.

       19.    Specifically,    during the investigation,   Detective    Blevins with the Baltimore

County Police Department examined the historical cell phone records for DINGLE, phone

number 667-325-6521, and identified three outgoing telephone calls and one incoming telephone

call regarding telephone number, 410-306-5118, which investigators learned is associated with

Demetrick Smallwood, the passenger from the aforementioned             traffic stop.   Furthermore, a

criminal record check for Smallwood revealed he has a prior robbery conviction in 2004.

Further review of Donte DINGLE's historical cell phone records revealed multiple telephone

cal1s between DINGLE's cellular phone, 667-352-6521, and cellular telephone number 443-922-

1989, which is associated with Chardonnay Cary, the driver and owner of the 2000 Nissan

Altima mentioned previously.

       20.    Beginning on July 17, 2018, investigators conducted surveillance on DINGLE.

During the surveillance detail, investigators observed DINGLE exit and return to 5229 Saint

Charles Avenue, Baltimore, Maryland 21215.            Furthermore, investigators observed DINGLE

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    enter the address on the evening of July 18, 2018.       Investigators believe DINGLE stayed the

    night. He then was observed exiting from that address on July 19, 2018.

            21.      Based on the information above, law enforcements obtained warrants to search:

    (I) 509 Mosher Street, Baltimore, MD 21217 (Chardonnay Cary's residence); (2) 5229 Saint

    Charles Avenue, Baltimore, MD 21215 (Dante DINGLE's residence); (3) a black 2006 Hyundai

    with Maryland registration 6DE0064 (Dante DINGLE's vehicle); and (4) a gold 2000 Nissan

    Altima, Bearing Maryland Registration 8CT0799 (Chardonnay Cary's vehicle). These warrants

    were executed during the morning of July 20, 2018.

            22.      After entering the location at 5229 Saint Charles Avenue, DINGLE's residence,

    law enforcement spoke with Donna Michelle Roundtree, who confirmed that "Donte" lived at

    5229 Saint Charles Avenue in the upstairs middle bedroom.

            23.      A search of DINGLE's bedroom revealed numerous articles of clothing, wigs,
"


    glasses, and other disguises, several of which matched items worn by the suspect during the

    robberies.    For example, the images below display items worn by the suspect during the Euro

    Liquors and 5th Avenue Liquors, respectively, next to items seized from DINGLE's bedroom:

                                              Euro Liquors




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                                       5th Avenue Liquors




       24.       In addition, law enforcement recovered from DINGLE's bedroom ammunition

and a silver Bryco Arms Model T380 .380 caliber pistol, which appears to match the pistol

brandished by the suspect during the robberies.        Law enforcement also recovered $2,159.54 in

U.S. currency.

       25.       That same day, around 8:15 am, law enforcement            arrested   DINGLE   and

transported him to 700 East Joppa Road, Baltimore County Police Headquarters.

       26.       Later that day, law enforcement also towed the gold Nissan Altimore to 700 East

Joppa Road, Baltimore County Police Headquarters, and executed the search warrant of that

vehicle. Inside the vehicle police found plastic disguise glasses and a black Adidas jacket with

red trim matching the jacket worn by one of the suspects during the Carney Liquors robbery, as

seen below:




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       27.        On January 22, 2019, investigators with the FBI informed me that DINGLE

appears to use the Target Accounts and that preservation requests had been served pursuant to

18 U.S.c.    S 2703(f)   requiring Facebook and Instagram to preserve all information associated

with the Target Accounts. Investigators were able to identify the Facebook and Instagram

accounts belonging to DINGLE by searching for usemames associated with DINGLE's name

and aliases and by comparing the account user's viewable pictures on the social media accounts

to known arrest pictures of DINGLE.

       28.        Given the facts set forth above, I submit that probable cause exists to believe that

the Target Accounts contain evidence, fruits, and instrumentalities of the Target Offenses.

                                             FACEBOOK

       29.        Facebook owns and operates a free-access social.networking website of the same

name that can be accessed at http://www.facebook.com.        Facebook allows its users to establish

accounts with Facebook, and users can then use their accounts to share written news,

photographs, videos, and other information with other Facebook users, and sometimes with the

general public.

       30.        Facebook asks users to provide basic contact and personal identifying information

to Facebook, either during the registration process or thereafter. This information may include

the user's full name, birth date, gender, contact e-mail addresses, Facebook passwords, physical

address (including city, state, and zip code), telephone numbers, screen names, websites, and

other personal identifiers. Facebook also assigns a user identification number to each account.

       31.        Facebook users may join one or more groups or networks to connect and intcract

with other users who are members ofthe same group or network. Facebook assigns a group

identification number to each group. A Facebook user can also connect directly with individual

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Facebook users by sending each user a "Friend Request." If the recipient of a "Friend Request"

accepts the request, then the two users will become "Friends" for purposes ofFacebook and can

exchange communications or view information about each other. Each Facebook user's account

includes a list ofthat user's "Friends" and a "News Feed," which highlights information about

the user's "Friends," such as profile changes, upcoming events, and birthdays.

        32.    Facebook users can select different levels of privacy for the communications and

information associated with their Facebook accounts. By adjusting these privacy settings, a

Facebook user can make information available only to himself or herself, to particular Facebook

users, or to anyone with access to the Internet, including people who are not Facebook users. A

Facebook user can also create "lists" of Facebook friends to facilitate the application of these

privacy settings. Facebook accounts also include other account settings that users can adjust to

control, for example, the types of notifications they receive from Facebook.

        33.    Facebook users can create profiles that include photographs, lists of personal

interests, and other information. Facebook users can also post "status" updates about their

whereabouts and actions, as well as links to videos, photographs, articles, and other items

available elsewhere on the Internet. Facebook users can also post information about upcoming

"events," such as social occasions, by listing the event's time, location, host, and guest list. In

addition, Facebook users can "check in" to particular locations or add their geographic locations

to their Facebook posts, thereby revealing their geographic locations at particular dates and

times. A particular user's profile page also includes a "Wall," which is a space where the user

and his or her "Friends" can post messages, attachments, and links that will typically be visible

to anyone who can view the user's profile.



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        34.    Facebook allows users to upload photos and videos, which may include any

metadata such as location that the user transmitted when s/he uploaded the photo or video. It

also provides users the ability to "tag" (i.e., label) other Facebook users in a photo or video.

When a user is tagged in a photo or video, he or she receives a notification of the tag and a link

to see the photo or video. For Facebook's purposes, the photos and videos associated with a

user's account will include all photos and videos uploaded by that user that have not been

deleted, as well as all photos and videos uploaded by any user that have that user tagged in them.

       35.     Facebook users can exchange private messages on Facebook with other users.

Those messages are stored by Facebook unless deleted by the user. Facebook users can also post

comments on the Facebook profiles of other users or on their own profiles; such comments are

typically associated with a specific posting or item on the profile. In addition, Facebook has a

chat feature that allows users to send and receive instant messages through Facebook Messenger.

These chat communications are stored in the chat history for the account. Facebook also has

Video and Voice Calling features, and although Facebook does not record the calls themselves, it

does keep records of the date of each call.

       36.     If a Facebook user does not want to interact with another user on Facebook, the

first user can "block" the second user from seeing his or her account.

       37.     Facebook has a "like" feature that allows users to give positive feedback or

connect to particular pages. Facebook users can "like" Facebook posts or updates, as well as

webpages or content on third-party (i.e., non-Facebook) websites. Facebook users can also

become "fans" of particular Facebook pages.

       38.     Facebook has a search function that enables its users to search Facebook for

keywords, usernames, or pages, among other things.

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       39.     Each Facebook account has an activity log, which is a list of the user's posts and

other Facebook activities from the inception of the account to the present. The activity log

includes stories and photos that the user has been tagged in, as well as connections made through

the account, such as "liking" a Facebook page or adding someone as a friend. The activity log is

visible to the user but cannot be viewed by people who visit the user's Facebook page.

       40.     Facebook also has a Marketplace feature, which allows users to post free

classified ads. Users can post items for sale, housing, jobs, and other items on the Marketplace.

       41.     In addition to the applications described above, Facebook -also provides its users

with access to thousands of other applications ("apps") on the Facebook platform. When a

Facebook user accesses or uses one of these applications, an update about that the user's access

or use of that application may appear on the user's profile page.

       42.     Facebook also retains Internet Protocol ("IP") logs for a given user ID or IP

address. These logs may contain information about the actions taken by the user 10 or IP

address on Facebook, including information about the type of action, the date and time of the

action, and the user 10 and IP address associated with the action. For example, if a user views a

Facebook profile, that user's IP log would reflect the fact that the user viewed the profile, and

would show when and from what IP address the user did so.

       43.     Social networking providers like Facebook typically retain additional information

about their users' accounts, such as infonnation about the length of service (including start date),

the types of service utilized, and the means and source of any payments associated with the

service (including any credit card or bank account number). In some cases, Facebook users may

communicate directly with Facebook about issues relating to their accounts, such as technical

problems, billing inquiries, or complaints from other users. Social networking providers like

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Facebook typically retain records about such communications, including records of contacts

between the user and the provider's support services, as well as records of any actions taken by

the provider or user as a result of the communications.

       44.     As explained herein, information stored in connection with a Facebook account

may provide crucial evidence of the "who, what, why, when, where, and how" ofthe criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience, a

Facebook user's IP log, stored electronic communications, and other data retained by Facebook,

can indicate who has used or controlled the Facebook account. This "user attribution" evidence

is analogous to the search for "indicia of occupancy" while executing a search warrant at a

residence. For example, profile contact information, private messaging logs, status updates, and

tagged photos (and the data associated with the foregoing, such as date and time) may be

evidence of who used or controlled the Facebook account at a relevant time. Further, Facebook

account activity can show how and when the account was accessed or used. For example, as

described herein, Facebook logs the Internet Protocol (IP) addresses from which users access

their accounts along with the time and date. By determining the physical location associated

with the logged IP addresses, investigators can understand the chronological and geographic

context of the account access and use relating to the crime under investigation.   Such information

allows investigators to understand the geographic and chronological context of Facebook access,

use, and events relating to the crime under investigation. Additionally, Facebook builds geo-

location into some of its services. Geo-Iocation allows; for example, users to "tag" their location

in posts and Facebook "friends" to locate each other. This geographic and timeline information

may tend to either inculpate or exculpate the Facebook account owner. Last, Facebook account

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activity may provide relevant insight into the Facebook account owner's state of mind as it

relates to the offense under investigation. For example, information on the Facebook account

may indicate the owner's motive and intent to commit a crime (e.g., information indicating a

plan to commit a crime), or consciousness of guilt (e.g., deleting account information in an effort

to conceal evidence from law enforcement).

       45.     Therefore, the computers of Facebook are likely to contain all the material

described above, including stored electronic communications and information concerning

subscribers and their use of Facebook, such as account access information, transaction

information, and other account information.

                                          INSTAGRAM

       46.     From my review of publicly available information provided by Instagram about

its service, including Instagram's "Privacy Policy," I am aware of the following about Instagram

and about the information collected and retained by lnstagram.

       47.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com.      Instagram allows its users to create

their own profile pages, which can include a short biography, a photo ofthemselves,     and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application ("app") created by the company that allows users to access the service

through a mobile device.

       48.     Instagram permits users to post photos to their profiles on lnstagram and

otherwise share photos with others on Instagram, as well as certain other social-media services,

including Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user

can add to the photo: a caption; various "tags" that can be used to search for the photo (e.g., a

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user made add the tag #Vw so that people interested in Volkswagen vehicles can search for and

find the photo); location information; and other information. A user can also apply a variety of

"filters" or other visual effects that modify the look of the posted photos. In addition, Instagram

allows users to make comments on posted photos, including photos that the user posts or photos

posted by other users of Instagram. Users can also "like" photos.

        49.      Upon creating an Instagram account, an Instagram user must create a unique

Instagram usemame and an account password. This information is collected and maintained by

Instagram.

        50.    Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user's full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

       51.     lnstagram allows users to have "friends," which are other individuals with whom

the user can share information without making the information public. Friends on Instagram

may come from either contact lists maintained by the user, other third-party social media

websites and information, or searches conducted by the user on Instagram profiles. Instagram

collects and maintains this information.

       52.     Instagram also allows users to "follow" another user, which means that they

receive updates about posts made by the other user. Users may also "unfollow" users, that is,

stop following them or block the, which prevents the blocked user from following that user.



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        53.      Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        54.      Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user's feed, search

history, or profile.

        55.      Users on Instagram may also search Instagram for other users or particular types

of photos or other content.

        56.      For each user, Instagram also collects and retains information, called "log file"

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram's servers automatically record is

the particular web requests, any Internet Protocol ("IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and

times of access, and other information.

        57.      Instagram also collects and maintains "cookies," which are small text files

containing a string of numbers that are placed on a user's computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram. For example,

Instagram uses cookies to help users navigate between pages efficiently, to remember

preferences, and to ensure advertisements are relevant to a user's interests.

        58.      Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record "device identifiers," which includes data files

and other information that may identify the particular electronic device that was used to access

Instagram.

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        59.      Instagram also collects other data associated with user content. For example,

Instagram collects any "hashtags" associated with user content (i.e., keywords used), "geotags"

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

        60.      Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

        6 I.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the "who, what, why, when, where, and how" of the criminal

conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience,

an Instagram user's account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This

"user attribution" evidence is analogous to the search for "indicia of occupancy" while executing

a search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation.   Such information allows investigators to understand the geographic and

chronological context ofInstagram access, use, and events relating to the crime under

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investigation. Additionally, Instagram builds geo-Iocation into some of its services. Geo-

location allows, for example, users to "tag" their location in posts and Instagram "friends" to

locate each other. This geographic and timeline information may tend to either inculpate or

exculpate the Instagram account owner. Last, Instagram account activity may provide relevant

insight into the Instagram account owner's state of mind as it relates to the offense under

investigation. For example, information on the Instagram account may indicate the owner's

motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or

consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

        62.     Based on the information above, the computers ofInstagram are likely to contain

all the material described above with respect to DINGLE's account, including stored electronic

communications and information concerning subscribers and their use of Instagram, such as

account access information, which would include information such as the IP addresses and

devices used to access the account, as well as other account information that might be used to

identify the actual user or users of the account at particular times.

                     Information To Be Searched And Things To Be Seized

        63.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular Title 18, United States Code, Sections 2703(a), (b)(1 )(A), and (c)(1 )(A), by

using the warrant to require Facebook and Instagram to disclose to the government copies of the

records and other information (including the content of communications) particularly described

in Section I of Attachment B-1 and B-2. Upon receipt of the information described in Section I

of Attachment B-1 and B-2, government-authorized       persons will review that information to

locate the items described in Section II of Attachment B-1 and B-2.

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                                          CONCLUSION

        64.     Based on the aforementioned factual information, I respectfully submit that there

is probable cause to believe that evidence, fruits, and instrumentalities of violations, or attempted

violations, of Hobbs Act robbery and conspiracy to commit Hobbs Act robbery (18 U.S.C.                 S
1951), felon in possession of a firearm (18 U.S.C.        S 922(g)),    and use of a firearm in furtherance

ofa crime of violence (18 U.S.c.   S 924(c))   may be located in the Target Accounts described in

Attachment A-I and A-2.

       65.      Based on the forgoing, I request that the Court issue the proposed search warrant.

       66.      This Court has jurisdiction to issue the requested warrant because it is "a court of

competent jurisdiction" as defined by 18 U.S.c.       S 2711.    18 U.S.c.     SS   2703(a), (b)(I)(A) &

(c)(I )(A). Specifically, the Court is "a district court ofthe United States ... that - has

jurisdiction over the offense being investigated." 18 U.S.c.           S 2711(3)(A)(i).
       67.      Pursuant to 18 U.S.C.   S 2703(g),   the presence of a law enforcement officer is not

required for the service or execution ofthis warrant. Because the warrant will be served on

Instagram and Facebook, who will then compile the requested records at a time convenient to it,

there exists reasonable cause to permit the execution of the requested warrant at any time in the

day or night.




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                                 19 ~ 0 3 2 9 BPG                    19 - 0 3 3 0 BPG

                                           &A~
                                           Mohammed Ali
                                           Task Force Officer, FBI


Sworn to before me this;2$   ~    of January 2019




                                             ~             .-/1
                                           The Honorable Beth P. Gesner
                                           United States Magistrate Judge




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                                        19 - 0829          BPG

                                     ATTACHMENT         A-I


                                   Property to Be Searched


       This warrant applies to information associated with the following Facebook account:


Target Accounts              Profile            Numeric ID            Profrle URL
                             Username
Donte DINGLE alk/a           Donte Kane         100007075992885       https://www.facebook.com
Donte Kane                                                            /donte.kane



that is stored at premises owned, maintained, controlled, or operated by Facebook Inc., a

company headquartered in Menlo Park, California.
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                                                            19-032913PG
                                       ATTACHMENT            B-1

                                  Particular   Things to be Seized

I.     Information    to be disclosed by Facebook

       To the extent that the information described in Attachment A-I is within the possession,

custody, or control of Facebook Inc. ("Facebook"), regardless of whether such information is

located within or outside ofthe United States, including any messages, records, files, logs, or

information that have been deleted but are still available to Facebook, or have been preserved

pursuant to a request made under 18 U.S.C.     S 2703(f),   Facebook is required to disclose the

following information to the government for each user ID listed in Attachment A-I:

       (a)     All contact and personal identifying information associated for each user ID

               identified on Attachment A-I, including the full name, user identification number,

               birth date, gender, contact e-mail addresses, physical address (including city,

               state, and zip code), telephone numbers, screen names, websites, and other

               personal identifiers.

       (b)     All activity logs for the account and all other documents showing the user's posts

               and other Facebook activities from January 1,2018 to July 20,2018;

       (c)     All photos and videos uploaded by that user ID and all photos and videos

               uploaded by any user that have that user tagged in them from January 1, 2018 to

               July 20, 2018, including Exchangeable Image File ("EXIF") data and any other

               metadata associated with those photos and videos;

       (d)     All profile information; News Feed information; status updatcs; videos,

               photographs, articles, and other items; Notes; Wall postings; friend lists, including

               the friends' Facebook user identification numbers; groups and networks of which
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      the user is a member, including the groups' Facebook group identification

      numbers; future and past event postings; rejected "Friend" requests; comments;

      gifts; pokes; tags; and information about the user's access and use ofFacebook

      applications;

(e)   All records or other information regarding the devices and internet browsers

      associated with, or used in connection with, that user 10, including the hardware

      model, operating system version, unique device identifiers, mobile network

      information, and user agent string;

(1)   All other records and contents of communications and messages made or received

      by the user from January I, 2018 to July 20, 2018, including all Messenger

      activity, private messages, chat history, video and voice calling history, and

      pending "Friend" requests;

(g)   All "check ins" and other location information;

(h)   All IP logs, including all records ofthe IP addresses that logged into the account;

(i)   All records of the account's usage of the "Like" feature, including all Facebook

      posts and all non-Facebook webpages and content that the user has "liked";

(j)   All information about the Facebook pages that the account is or was a "fan" of;

(k)   All past and present lists of friends created by the account;

(I)   All records of Facebook searches performed by the account from January 1, 2018

      to July 20, 2018;

(m)   All information about the user's access and use of Facebook Marketplace;

(n)   The types of service utilized by the user;



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        (0)      The length of service (including start date) and the means and source of any

                 payments associated with the service (including any credit card or bank account

                 number);

        (p)      All privacy settings and other account settings, including privacy settings for

                 individual Facebook posts and activities, and all records showing which Facebook

                 users have been blocked by the account;

        (q)      All records pertaining to communications between Facebook and any person

                 regarding the user or the user's Facebook account, including contacts with support

                 services and records of actions taken.

       Facebook is hereby ordered to disclose the above information to the government within

14 days of service of this warrant.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of Hobbs Act robbery and conspiracy to commit Hobbs Act Robbery in

violation of 18 U.S.c.   S   1951, felon in possession of a firearm in violation of 18 U.S.C.   S 922(g),
and use of a firearm in furtherance of a crime of violence in violation of 18 U.S.c.     S 924(c),
involving Donte DINGLE aIkIa Donte Kane since January 1, 2018, including, for each user ID

identified on Attachment A-I, information pertaining to the following matters:

              (a) All images, messages, communications, calendar entries, and contacts, including

                 any and all preparatory steps taken in furtherance of these crimes and steps taken

                 to conceal these crimes;

              (b) Evidence indicating how and when the Facebook account was accessed or used,

                 to determine the chronological and geographic context of account access, use, and

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               events relating to the crime under investigation and to the Facebook account

               owner;

            (c) Evidence indicating the Facebook account owner's state of mind as it relates to

               the crime under investigation.

           (d) The identity of the person(s) who created or used the user !D, including records

               that help reveal the whereabouts of such person(s).

            (e) Credit card and other financial information, including but not limited to, bills and

               payment records evidencing ownership of the target account and use of any

               robbery proceeds.

            (I) The identity of the person(s) who communicated       with the user!D about matters

               relating to offenses under investigation, including records that help reveal their

               whereabouts.

        With respect to the search of the information provided pursuant to this warrant by the

above-referenced   provider, law enforcement personnel should make reasonable efforts to use

methods and procedures that will locate and expose those categories of files, documents,

communications,    or other electronically-stored   information that are identified with particularity

in the warrant while minimizing the review of information not within the list of items to be

seized as set forth herein, to the extent reasonably practicable.




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                                                                     19 - 03 30 BPG

                                     ATTACHMENT A-2

                                   Property to Be Searched

       This warrant applies to information associated with the following Instagram account:


TargefAccounts               Profile            NumericID            Profile URL
                             Username
Donte DINGLE alk/a Done      Donte Kane666      1203080249           https://www.instagram.co
Kane                                                                 m/dontekane/


that is stored at premises owned, maintained, controlled, or operated by lnstagram, LLC, a

company that is owned by Facebook, Inc. and headquartered in Menlo Park, California.




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                                      ATTACHMENT         B-2
                                                                            19-0330BPG
                                 Particular Things to be Seized

I.     Information to be disclosed by Instagram, LLC

       To the extent that the information described in Attachment A-I is within the possession,

custody, or control of Instagram, LLC, including any messages, records, files, logs, or

information that have been deleted but are still available to Instagram, LLC, or have been

preserved pursuant to a request made under 18 U.S.C.   S 2703(f),   Instagram, LLC is required to

disclose the following information to the government for each account listed in Attachment A-I:

       (r)     All identity and contact information, including full name, e-mail address, physical
               address (including city, state, and zip code), date of birth, phone numbers, gender,
               hometown, occupation, and other personal identifiers;

       (s)     All past and current usernames associated with the account;

       (t)     The dates and times at which the account and profile were created, and the
               Internet Protocol ("IP") address at the time of sign-up;

       (u)     All activity logs including IP logs and other documents showing the IP address,
               date, and time of each login to the account, as well as any other log file
               information;

       (v)     All information regarding the particular device or devices used to login to or
               access the account, including all device identifier information or cookie
               information, including all information about the particular device or devices used
               to access the account and the date and time of those accesses;

       (w)     All data and information associated with the profile page, including photographs,
               "bios," and profile backgrounds and themes;

       (x)     All communications or other messages sent or received by the account from
               January I, 2018 to July 20,2018;

       (y)     All user content created, uploaded, or shared by the account, including any
               comments made by the account on photographs or othcr content from January I,
               2018 to July 20,2018;

       (z)     All photographs and images in the user gallery for the account from January I,
               2018 to July 20,2018;


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       (aa)       All location data associated with the account;including   geotags from January I,
                  2018 to July 20,2018;

       (bb)       All data and information that has been deleted by the user from January I, 2018 to
                  July 20,2018;

       (cc)      A list of all of the people that the user follows on lnstagram and all people who
                 are following the user (i.e., the user's "following" list and "followers" list), as
                 well as any mends of the user;

       (dd)      A list of all users that the account has "unfollowed" or blocked;

       (ee)      All privacy and account settings;

       (ff)      All records of lnstagram searches performed by the account, including all past
                 searches saved by the account from January 1,2018 to July 20,2018;

       (gg)      All information about connections between the account and third-party websites
                 and applications; and,

       (hh)      All records pertaining to communications between lnstagram, LLC and any
                 person regarding the user or the user's lnstagram account, including contacts with
                 support services, and all records of actions taken, including suspensions of the
                 account.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of Hobbs Act robbery and conspiracy to commit Hobbs Act Robbery in

violation of 18 U.S.C.   S   1951, felon in possession of a firearm in violation of 18 U.S.C.   S 922(g),
and use, ofa firearm in furtherance ofa crime of violence in violation of 18 U.S.c.      S 924(c),
involving Donte DINGLE a/kIa Donte Kane since January 1,2018, including, for each user ID

identified on Attachment A-I, information pertaining to the following matters:

              (a) All images, messages, communications, calendar entries, and contacts, including

                 any and all preparatory steps taken in furtherance of these crimes and steps taken

                 to conceal these crimes;

              (b) Evidence indicating how and when the lnstagram account was accessed or used,

                 to determine the chronological and geographic context of account access, use, and
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                events relating to the crime under investigation and to the Instagram account

                owner;

            (c) Evidence indicating the lnstagram account owner's state of mind as it relates to

               the crime under investigation.

           (d) The identity of the person(s) who created or used the user ID, including records

               that help reveal the whereabouts of such person(s).

            (e) Credit card and other financial information, including but not limited to, bills and

                payment records evidencing ownership of the target account and use of any

               robbery proceeds.

            (I) The identity of the person(s) who communicated       with the user ID about matters

               relating to offenses under investigation, including records that help reveal their

               whereabouts.

        With respect to the search of the information provided pursuant to this warrant by the

above-referenced   provider, law enforcement personnel should make reasonable efforts to use

methods and procedures that will locate and expose those categories of files, documents,

communications,    or other electronically-stored   information that are identified with particularity

in the warrant while minimizing the review of information not within the list of items to be

seized as set forth herein, to the extent reasonably practicable.




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